               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

WILLINE SMITH,                           §
                                         §
             Plaintiff,                  §
                                         §
vs.                                      §
                                                 Civil Action No.: 1:24-CV-00010-MLB-
                                         §
                                                                   LTW
AMERICAN COACH LINES OF                  §
ATLANTA, INC.,                           §
                                         §
             Defendant.                  §


          DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES
                   TO PLAINTIFF’S COMPLAINT

      Defendant, American Coach Lines of Atlanta, Inc. (the “Company”), by and

through its undersigned counsel, hereby files the instant Answer and Affirmative

Defenses to the Complaint (the “Complaint”) of Plaintiff, Willine Smith

(“Plaintiff”). Defendant denies each and every allegation not specifically admitted

herein.

                          I.   JURISDICTION AND VENUE

      1.     Denied. The averments within Paragraph 1 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.




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      2.     Denied. The averments within Paragraph 2 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      3.     Admitted in part; denied in part. It is admitted only that: (i) Plaintiff

filed a Charge of Discrimination against the Company with the United States Equal

Employment Opportunity Commission (the “EEOC”) (EEOC Charge No. 410-

2023-03262); and (ii) the EEOC ultimately issued a Notice of Right to Sue letter.

The remaining averments within Paragraph 3 of the Complaint state conclusions of

law to which no response is required and, therefore, are denied; to the extent they

are deemed factual, they are denied.

      4.     Denied. The averments within Paragraph 4 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

                               II.     THE PARTIES

      5.     Admitted in part; denied in part. It is admitted only that, upon

information and belief, Plaintiff is a citizen of the United States. The Company

denies knowledge or information sufficient to form a belief as to the truth of the




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remaining averments within Paragraph 5 of the Complaint and, therefore, they are

denied.

      6.     Admitted.

      7.     Admitted in part; denied in part. It is admitted only that the Company’s

Registered Agent is CT Corporation System, with a physical address of 289 S Culver

St., Lawrenceville, Georgia 30046-4805. The remaining averments within

Paragraph 7 of the Complaint state conclusions of law to which no response is

required and, therefore, are denied; to the extent they are deemed factual, they are

denied.

      8.     Denied. The averments within Paragraph 8 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      9.     Denied. The averments within Paragraph 9 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

                       III.   FACTUAL ALLEGATIONS

      10.    Denied. The averments within Paragraph 10 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      11.    Denied.


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      12.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 12 of the Complaint

and, therefore, they are denied.

      13.    Denied.

      14.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 14 of the Complaint

and, therefore, they are denied.

      15.    Denied as stated.

      16.    Admitted in part; denied in part. It is admitted only that the Company

permitted Plaintiff to use a human translator at work when she desired. The term

“interpreter” within Paragraph 16 of the Complaint is vague and ambiguous and,

therefore, the remaining averments within Paragraph 16 of the Complaint are denied.

      17.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 17 of the Complaint

and, therefore, they are denied.

      18.    Denied as stated.

      19.    Denied.

      20.    Denied.

      21.    Denied.




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      22.    Denied.

      23.    Admitted in part; denied in part. It is admitted only that Plaintiff

continued to be assigned Megabus routes to work on behalf of the Company. All

remaining averments within Paragraph 23 of the Complaint are denied.

      24.    Admitted in part; denied in part. It is admitted only that in April 2022,

Plaintiff submitted a request to the Company for FMLA leave. The Company denies

knowledge or information sufficient to form a belief as to the truth of the remaining

averments within Paragraph 24 of the Complaint and, therefore, they are denied.

      25.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 25 of the Complaint

and, therefore, they are denied.

      26.    Admitted in part; denied in part. It is admitted only that Walt Dixon

completed all the paperwork to approve Ms. Smith’s requested FMLA leave and

scheduled a meeting with her for May 27, 2022, to discuss her requested leave of

absence. The remaining averments within Paragraph 26 of the Complaint are denied.

      27.    Admitted in part; denied in part. It is admitted only that on May 27,

2022, Ms. Smith drove a Megabus route on behalf of the Company. The Company

denies knowledge or information sufficient to form a belief as to the truth of the

remaining averments within Paragraph 27 of the Complaint and, therefore, they are

denied.


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      28.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 28 of the Complaint

and, therefore, they are denied.

      29.    Denied.

      30.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 30 of the Complaint

and, therefore, they are denied.

      31.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 31 of the Complaint

and, therefore, they are denied.

      32.    Denied. It is admitted only that when Plaintiff met with Mr. Dixon, he

permitted her to have her requested interpreter – her husband – present for the

meeting. All remaining averments within Paragraph 32 of the Complaint are denied.

      33.    Denied.

      34.    Denied.

      35.    Admitted in part; denied in part. It is admitted only that on May 27,

2022, Plaintiff used her cell phone while operating a Megabus vehicle filled with

customers, in violation of Company policies and procedures and United States

Department of Transportation (“DOT”) regulations, warranting her immediate




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termination. The remaining averments within Paragraph 35 of the Complaint are

denied.

      36.    Denied. The Company denies knowledge or information sufficient to

form a belief as to the truth of the averments within Paragraph 36 of the Complaint

and, therefore, denies same.

      37.    Admitted in part; denied in part. It is admitted only that Plaintiff filed a

Charge of Discrimination against the Company with the EEOC on November 18,

2022 (EEOC Charge No. 410-2023-03262). The remaining averments within

Paragraph 37 of the Complaint are denied.

      38.    Admitted in part; denied in part. It is admitted only that the EEOC

issued a Notice of Right to Sue letter for EEOC Charge. No. 410-2023-03262. The

Company denies knowledge or information sufficient to form a belief as to whether

“Plaintiff received her Dismissal and Notice of Rights” and, therefore, denies same.

The remaining averments within Paragraph 38 of the Complaint are denied.

                            IV.    CLAIMS FOR RELIEF

                          COUNT I: ADA DISCRIMINATION

      39.    The Company re-alleges and incorporates by reference its responses to

each of the allegations set forth above as if stated verbatim and in full herein.




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      40.    Denied. The averments within Paragraph 40 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      41.    Denied. The averments within Paragraph 41 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      42.    Denied. The averments within Paragraph 42 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      43.    Denied; and it is further denied that Plaintiff has a disability within the

meaning of the ADA.

      44.    Denied; and it is further denied that Plaintiff “communicat[ed] these

concerns” to the Company.

      45.    Denied. The averments within Paragraph 45 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

                         COUNT II: FMLA INTERFERENCE

      46.    The Company re-alleges and incorporates by reference its responses to

each of the allegations set forth above as if stated verbatim and in full herein.




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      47.     Admitted in part; denied in part. It is admitted only that Plaintiff’s

requested FMLA leave was approved by the Company; however, her violation of

Company policies and procedures and DOT regulations on the day that her leave

was granted resulted in her termination. The remaining averments within Paragraph

47 of the Complaint are denied.

      48.     Denied. The averments within Paragraph 48 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      49.     Denied. The averments within Paragraph 49 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied.

      50.     Denied; and it is further denied that the Company interfered with

Plaintiff’s rights under the FMLA or that Plaintiff is entitled to any form of relief

whatsoever.

                      COUNT III: FMLA RETALIATION

      51.     The Company re-alleges and incorporates by reference its responses to

each of the allegations set forth above as if stated verbatim and in full herein.

      52.     Denied. The averments within Paragraph 52 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied.




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      53.    Admitted in part; denied in part. It is admitted only that Plaintiff’s

requested FMLA leave was approved by the Company; however, her violation of

Company policies and procedures and DOT regulations on the day that her leave

was granted resulted in her termination. The remaining averments within Paragraph

53 of the Complaint are denied.

      54.    Denied. The averments within Paragraph 54 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied.

      55.    Denied. The averments within Paragraph 55 of the Complaint state

conclusions of law to which no response is required and, therefore, are denied; to the

extent factual, they are denied.

                              PRAYER FOR RELIEF

      56.    Denied. The averments within the “WHEREFORE” clause of the

Complaint and its subparagraphs (a) – (d) reflect a prayer for relief and state

conclusions of law to which no response is required and, therefore, are denied; to the

extent they are deemed factual, they are denied. It is specifically denied that Plaintiff

is entitled to any form of relief whatsoever.

      To the extent that a further response is deemed necessary, the Company denies

any and all liability, prays that Plaintiff’s Complaint be dismissed with prejudice and

that the Court enter judgment in the Company’s favor on all Counts of the

Complaint, that the Company be awarded its costs and expenses in defending this


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action, including attorneys’ fees, and for such other relief as the Court deems just

and proper.

                           AFFIRMATIVE DEFENSES

      Pursuant to Rule 8(c) of the Federal Rules of Civil Procedure, the Company

asserts the following Affirmative Defenses to Plaintiff’s Complaint without

assuming the burden of proof of any issues as to which the burden of proof is on

Plaintiff under applicable law:

                             First Affirmative Defense

      The Complaint, in whole or in part, fails to state a claim upon which relief can

be granted.

                            Second Affirmative Defense

      Plaintiff’s claims, or certain of them, are barred by the applicable statute of

limitations.

                             Third Affirmative Defense

      Plaintiff is estopped and barred by Plaintiff’s own conduct from requesting

the relief set forth in the Complaint.

                            Fourth Affirmative Defense

      Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean

hands.




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                             Fifth Affirmative Defense

      Plaintiff’s claims are barred, in whole or in part, by the doctrines of laches and

waiver.

                             Sixth Affirmative Defense

      Plaintiff’s claims are barred, in whole or in part, to the extent that Plaintiff

failed to satisfy all conditions precedent to bringing the instant action, including, but

not limited to, her failure to invoke or exhaust available complaint, investigation,

dispute resolution, arbitration, appeal, protest, and/or other prerequisites to suit,

and/or to the extent she failed to exhaust administrative remedies prior to asserting

some or all of the claims in the instant action.

                            Seventh Affirmative Defense

      The Company has made good faith efforts to prevent discrimination and

harassment in the workforce, and exercised reasonable care to prevent and correct

promptly any unlawful behavior. To the extent that Plaintiff did not report conduct

that Plaintiff perceived to be discriminatory or retaliatory, Plaintiff unreasonably

failed to take advantage of the Company’s preventative or corrective opportunities

or to otherwise avoid harm, and Plaintiff cannot now recover on claims related to

such conduct.




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                           Eighth Affirmative Defense

      Plaintiff unreasonably failed to take advantage of any preventative or

corrective opportunities provided by the Company to avoid harm or otherwise.

                            Ninth Affirmative Defense

      Plaintiff’s claims are barred, in whole or in part, because any damages

suffered by Plaintiff were the result of acts or omissions of parties over which the

Company had no control or circumstances over which the Company had no control.

                            Tenth Affirmative Defense

      Any and all actions taken by the Company, if any, with respect to Plaintiff’s

employment or terms and conditions thereof, were based upon legitimate, non-

discriminatory and non-retaliatory business reasons, were taken without regard to

disability or any purported engagement in protected activity, and were not

pretextual.

                          Eleventh Affirmative Defense

      Plaintiff’s claims and/or damages are barred on the grounds that, even if any

decision concerning Plaintiff was based, in part, on grounds of unlawful

discrimination or retaliation, which is not the case, the Company would have reached

the same decision, absent any alleged discrimination or retaliation.




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                           Twelfth Affirmative Defense

      If Plaintiff suffered any of the injuries, losses, and damages alleged in the

Complaint, then said injuries, losses, and damages were a direct and proximate result

of Plaintiff’s own negligence or contributory conduct.

                         Thirteenth Affirmative Defense

      Plaintiff’s claims are barred inasmuch as, if Plaintiff were to prevail in the

above-captioned matter, Plaintiff would be unjustly enriched.

                         Fourteenth Affirmative Defense

      Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not

suffered any damages as a result of any act or omission taken by the Company.

                          Fifteenth Affirmative Defense

      Plaintiff’s claims are barred, in whole or in part, because Plaintiff is not

entitled to the damages sought in the Complaint.

                          Sixteenth Affirmative Defense

      Plaintiff fails to allege facts sufficient to allow the recovery of punitive

damages from the Company. Further, Plaintiff is not entitled to recover the punitive

damages alleged in the Complaint because such an award would violate the

Company’s rights under the Constitution of the United States of America and the

Constitution of the State of Georgia.




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                         Seventeenth Affirmative Defense

      Plaintiff’s damages, if any, are barred, in whole or in part, to the extent that

Plaintiff failed to mitigate Plaintiff’s damages.

                          Eighteenth Affirmative Defense

      Plaintiff’s claims are baseless and without merit or legal foundation and, as a

result, the Company is entitled to recover their reasonable attorneys’ fees and costs

incurred herein.

                          Nineteenth Affirmative Defense

      If any of the Company’s employees engaged in any wrongful acts toward

Plaintiff, said acts were outside the scope of the employee’s employment with the

Company and were independent, intervening, and unforeseeable acts that were not

ratified, confirmed or approved by the Company and, therefore, cannot be attributed

to or imputed to the Company.

                          Twentieth Affirmative Defense

      No penalty or liability under applicable law is appropriate because, at all

relevant times, the Company did not willfully, knowingly, or intentionally fail to

comply with any provision(s) of applicable law, but rather acted in good faith and

had reasonable grounds for believing that they had not violated any provision(s) of

applicable laws.




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                        Twenty-First Affirmative Defense

      With respect to Plaintiff’s demand for punitive damages, the Company

specifically incorporates by reference any and all standards or limitations regarding

the determination and/or enforceability of punitive damage awards which arose in

the decision of BMW of North America v. Gore, 116 U.S. 1589 (1996).

                                    Reservation

      The Company hereby gives notice that it intends to rely upon such other and

further defenses as may become available during discovery proceedings in this case

and hereby reserves its right to amend its Answer, and/or to otherwise assert such

defenses.

                             PRAYER FOR RELIEF

      WHEREFORE, the Company denies all liability to Plaintiff and demands

judgment in its favor, and against Plaintiff, together with interest, costs, attorneys’

fees and such further relief as the Court deems just and proper.




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Dated: March 25, 2024   Respectfully Submitted,

                        /s/Nathan Huff
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                        Attorneys for Defendant




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                    FONT AND POINT CERTIFICATION
      The Undersigned counsel for plaintiff certifies that the within and foregoing

DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S

COMPLAINT was prepared using Times New Roman, 14-point font in accordance

with LR 5.1(B).



Respectfully submitted this 25th day of March, 2024.

                                      /s/Nathan Huff
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                                      Attorneys for Defendant




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                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was
electronically filed with the Court and served through the CM-ECF system to all
counsel of record registered to receive a Notice of Electronic Filing for this case on
the 25th day of March 2024.

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                                       /s/Gwyn L. Martin




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